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1. CIRJDIST.IDW. coDE 2. PERSON REPRESENTED voUCuER NUSBER g
'INW Crawford, Charlotte ,_
3. MAG. ol<T.rl)Er. NUMBER 4. ms"r. DKT.mEF. NuMBER s. APPF,ALS mcr.n)EF. NuMBr:a 6. orman oKT. NUMBER ¢ _ /%Oq
2;04-020471-003~ 9 FlLE‘?-* n *‘ \. _
7. IN c,\srm ATTER or tcm mm o. PAYMENT cATEGoRY 9. TYPE PERsoN REPRESENTED 10. R(§:er §ESENTAHON TYPF.
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U.S. v. Crawford Feiony Aduit Defendant Criminai §§sm [I; l E E

 

 

]l. OFFENSE(S) CH ARGED (Cite U.S. Code, Title & Secl*ion) li`more than one oll'ense, list (up to five} ma_|or otTmses eharged. according lo severity ofollense.

1) 18 656.F -- THEFT/ EMBEZZLEMENT/MlSAPPLICATION BY BANK OFFICER

I"l o-

 

 

MEMPHIS TN 38103

'l`elephone N\tmber:

14. NAME AND MAlLlNG ADDRESS OF LAW FIRM [onlyl provide per lo.struct'[o"nr

 

 

Prior Attorn:y's Name:
Appointmeni Date:

i:] Bet:ause the

otherwise satisfied this court that he or she (l) is i'manr.l

l) does not wirtz

ame_appearrin lt f at this person in

12. ATTORNEY'S NAME FirstName,M,l.,Llst Name,iucludinganysull'i!} 13. COURT ORDER CLE `i` i
A-Np MMLING ADDRE S E 0 Appoinllng Counlel i:i C Co-Co\u\sei li.r" _
WC]I]II]BI!, Bef'nard i:i F Suhs Fur Federall]efeuder l:l R Subs For Retained Mlo\lw "i ' `
2775 JEFFERSON AVE [:l P SobsFor PanelAltorney i:l Y Sl\odhy€ounsel

 

 

  
        
 
 

above-named person represented has leetif und r oath or has
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to wai\;e cooley and

 

 

 
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

representation? ij \’ES ij NO [|'yes, give detaill on additional alteeu.
I swear orallirm the truth or correctness of the above statements.

Signature of Atttlrney:

  
 

         
   

we .. f -.;n.
24. OU'I` OF COURT COMP.

. lN COURT COMP.

Have you previoully applied to the court fn' compensation andfor remintbnrnment for this case'.' ij YES
Other than from the court` have you, or ioyour knowledge hal anyone else, received payment (eompeosai|on or anything nr value) from any other source in conneetino with this

25. TRAVEL EXPENSES

e o ' ' .lttdieial 0 ces or lig Order oftie Coir*\ \.»»" \
051/l §/9 nfl‘i `\
te ol'Order Nuoc Pro Tune Date
Repa ent or partial repayment ordered from the person represented for this service at
lime f appointment. l] YES NO
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cATEGm>.IEs much summation emma with ones HOU“S AMOUNT Ao.luer.o Ao.msrr:o ADDI“°NAL
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15. a. Arraignment andlor Plea

b. Bail and Detention Hearings

c. Motion Hearlngs
I .
n d. Trlal
C e. Senteucing Hearings
3 f. Revoeatlon l-Iearings
z g. Appeais Court

h. Other (Speclfy on additional sheets)

(Rate per hour - $ ) TOTALS:
to. a. lnterviews and Conferenees
ing b. Obtaining and reviewing records
0 c. Legal rese arch and brief writing
; d. Travel time
§ e. Investigativ e and Other work (specify on mdi¢ion¢t mean
l'
t (Rate per hour = $ ) '[UTALS:
l'!. Travel Ex penses (lodging, parking, meals, mileage, ete.)
18. Other Expenses (other than expert, transcripts, etc.)
§§ `
l9. CERTIF]CA'HON OF ATTORNEY!PAYEE FOR THE PERIOD 0 F SERV'|CE 20. A?FOINTMENT TERM!NAT|ON DATE 21. CASE DlSPO SITION
tr oTHER 'mAN case coMPLt-:rloN
` FRoM ro

22. CLA!M STATUS § Final Paymenl i:i lotedm Payment Numher m Supplementai Payrneut

l:l NO lfyes, were you paid‘.’ E YES i:l NO

    

 

 

    

26. OTHER EXPENSES }'l. TOTAL AMT. APPR! CERT

     

 

 

 

 

 

approved in excess ol'lhe statutory threshold amoun .

 

28. SlGNATURE OF THE PRESID|NG JUDlClAL OFFICER DATE IBa. JUDGE f MAC. JUDGE CODE
29. IN COURT COMP. 30. OUT OF COURT COMP. 31. TRAVEL EXPENSES 32. OTHER EXPENSES JJ. TOTAL AMT. APPROVED
34. SIGNATURE OF CH|EF JUDGE, COURT OF` APP EALS (OR DELEGATE) Payment DATE 341 .IUDGE CODE

 

 

 

 

Th'ls document entered on the dockets eat in compliance
, if
with note 55 and/or 32(b) roch on 317 Cg 2

 

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This notice confirms a copy ofthc document docketed as number 88 in
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Honorable Bernice Donald
US DISTRICT COURT

